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                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT of CALIFORNIA

                                  CRIMINAL MINUTES

Judge:             William Alsup                          Time in Court:       29 minutes
Date:              October 8, 2019
Case No.           14‐cr‐00175‐WHA‐1

United States of America                v.         Pacific Gas and Electric Company

                                               Defendant
                                              Present
                                              Not Present
                                              In Custody

U.S. Attorney                                             Defense Counsel
Hallie Hoffman                                            Reid Schar
Jeff Schenk                                               Kate Dyer


Deputy Clerk: Tracy Geiger                                Reporter: Marla Knox

Probation Officer: Jennifer Hutchings

                                        PROCEEDINGS

REASON FOR HEARING:           Status Conference
RESULT OF HEARING:            Court addressed letter received from City of San Bruno.

                              San Bruno City Attorney Marc Zafferano; San Bruno Mayor
                              Rico Medina; and San Bruno City Manager Jovan Grogan
                              present.

                              Court directs City of San Bruno to provide a concrete plan to the
                              Court at the next hearing date. The plan should include, but not
                              limited to, a timeline; list of contractors; amount to be spent on
                              consultants and lawyers.


CONTINUED: November 12, 2019 at 12:00 pm for Status Conference


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